Case 1:18-cv-24190-RS Document 599 Entered on FLSD Docket 01/09/2024, Page 1 of 1
DC 11 (Rev. 11/2002) Writ of Execution | g “24 90-~ Cld + mn :

WRIT OF EXECUTION

DISTRICT

UNITED STATES DISTRICT COURT Southern District of Florida

TO THE MARSHAL OF:
United States District Court for the Southern District of Florida

YOU ARE HEREBY COMMANDED, that of the goods and chattels, lands and tenements in your district belonging to:
NAME “filed —5 7

REC'D BY. D.C.
Joe Carollo
JAN 09 2024
ANGELA E. NOBLE

CLERK US, DIST. CT
you cause to be made and levied as well a certain debt of: S:D. OF FLA. MIAMI
DOLLAR AMOUNT DOLLAR AMOUNT

$34,300,000.00 and $29,200,000.00

in the United States District Court for the Southern District of _Florida :

before the Judge of the said Court by the consideration of the same Judge lately recovered against the said,

Joe Carollo
USDC for the Southern District of Florida Case no.1:18-cv-24190

and also the costs that may accrue under this writ. ;
And that you have above listed moneys at the place and date listed below; and that you bring this writ with you.

PLACE U.S. Marshal's Office eR EeE Southern District of Florida

etl ag : DATE
te Miami, Florida

Witness the Honorable

(United States Judge)

DATE CLERK OF COURT
Angela E Noir.
a a
| q 202 of (BY) DEPU .
/ | RETURN
DATE RECEIVED DATE OF EXECUTION OF WRIT

This writ was received and executed.

U.S. MARSHAL (BY) DEPUTY MARSHAL

